      Case 1-19-44751-cec         Doc 43     Filed 10/18/19      Entered 10/18/19 16:16:57


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                                                                                           W. M. Greenwald



                                          October 18, 2019



Hon. Carla E. Craig
United States Chief Bankruptcy Judge
United States Bankruptcy Court
Eastern District of New York
271 Cadman Plaza East
Brooklyn, NY 11201

       Re:     October 15, 2019 Scheduling Order
               In re 1934 Bedford LLC
               Case No. 19-44751-cec


Dear Judge Craig:

       This firm is the Debtor’s counsel.

      On October 15, 2019, Your Honor issued a Scheduling Order in this case (the “Order”).
The Order set:

               a.)     today for the Debtor to file its objection to1930 Bedford Avenue LLC’s
                       (“1930") claim (the “Objection”);
               b.)     November 1, 2019 for 1930 to respond to the Objection;
               c.)     November 5, 2019 for the Debtor to file its reply; and
               d.)     November 6, 2019 at 04:00 P.M. as the hearing on the Objection.

        After the hearing when Your Honor first stated the schedule, the Debtor learned, to its
surprise, that it had to replace its real estate attorneys. The Debtor is proceeding to replace its
real estate attorneys. However, the Debtor has yet to engage real estate attorneys for this case.
This prevents the Debtor from preparing its Objection adequately for filing today.

       Accordingly, the Debtor asks the Court to amend the Order and schedule to run two
weeks later than it presently provides. The Debtor believes that, by then, it will have engaged
counsel who can file the Objection by the requested new deadline.
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         We apologize for any imposition on the Court and parties. The Debtor did its best to
 avoid the need to ask for this rescheduling.

        Thank you for considering this request. I trust that I will be contacted if the Court has any
 questions in this regard.

                                                              Respectfully,

                                                              /s/ Wayne M. Greenwald

                                                              Wayne M. Greenwald


 WMG/ ms
 cc: Mark Frankel, Esq. (via ECF)
